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Case 1:18-cv-00741-JLT-SAB Document 28 Filed 07/22/19 Page1of3

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PROOF OF SERVICE BY MAIL —

BY PERSON IN STATE CUSTODY

(Fed. R. Civ. P. 5; 28 U.S.C. § 1746)

I, Koy Tr O'Srien | , declare:

I am over 18 years of age and a party to this action. | am a resident of Brcdhacd O- Donovay)

Corteckional Fac Vasyl . Prison,’

_ in the county of Sew? Drego ;

State of California. My prison address is: 4WO A\YA 2d. Sov ViCQO , CA 42114 ,

(DATE)

I served the attached: DecloceNion foc ery of delou)

(DESCRIBE DOCUMENT)

on the parties herein by placing true and correct copies thereof, enclosed in a sealed envelope, with postage
thereon fully paid, in the United States Mail in a deposit box so provided at the above-named correctional

- institution in which I am presently confined. The envelope was addressed as follows:
AMErCe 6 Me Clee, Mivked Drades GiSyiek Cour’
Eastan Di SAwck of Car\ horn Ch

Feemo, cA S72\- 1316
I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

;
Executed on Duly 19, Zo\A Koh OBL

(DATE) 7 (DEGEARANT’S SIGNATURE)

Civ-69 (Rev. 9/97) . ODMA\PCDOCS!WORDPERFECTW2283 aI

